             Case 2:05-cr-00396-JCC           Document 43      Filed 12/16/05      Page 1 of 2



 1

 2

 3

 4

 5

 6

 7
                                     UNITED STATES DISTRICT COURT
 8                                  WESTERN DISTRICT OF WASHINGTON
                                              AT SEATTLE
 9
      UNITED STATES OF AMERICA,
10
                             Plaintiff,
11                                                                 CASE NO. CR05-396C
             v.
12                                                                 ORDER
      RANDALL CANUPP, REGINALD PURDOM,
13    BENJAMIN LONG, and ANTHONY D’ALOIA,
14                           Defendants.
15

16          This matter comes before the Court on Defendants’ Stipulation to Continue Trial and Establish

17   Motions Cutoff Deadline (Dkt. No. 37).

18          The current Motions Cutoff Deadline is December 1, 2005 and the current trial date is January 3,

19   2006. Counsel for Defendant Randall Canupp has just entered his appearance after a substitution of

20   counsel (see Dkt. No. 38) and has not had sufficient time to review discovery for preparation of legal

21   motions and for trial. A denial of the requested extensions would unreasonably deny Defendant Canupp

22   adequate preparation by his attorney and would deny counsel reasonable time to prepare. Due to these

23   factors, exclusion of additional time under 18 U.S.C. § 3161(h)(8)(B)(iv) is appropriate, taking into

24   account the exercise of due diligence.

25          All Defendants have joined in the instant motion, but only three of the four have filed speedy trial

26   ORDER – 1
             Case 2:05-cr-00396-JCC           Document 43         Filed 12/16/05       Page 2 of 2



 1   waivers. Defendant Canupp has waived speedy trial rights through March 26, 2006 (Dkt. No. 41);

 2   Defendant D’Aloia has waived speedy trial rights through March 21, 2006 (Dkt. No. 39); and Defendant

 3   Long has waived speedy trial rights through March 6, 2006. Defendant Purdom has not waived speedy

 4   trial rights in association with the instant request for a continuance, but because there has been no

 5   severance of trial and his three codefendants have waived speedy trial rights and presented sufficient

 6   grounds for a continuance, the delay between the date of this Order and the new trial date is excludable

 7   time pursuant to 18 U.S.C. § 3161(h)(7) as to Defendant Purdom.

 8           The proposed continuance of the trial does not appear to prejudice any party. The Court finds

 9   that failure to grant the requested continuance likely would result in a miscarriage of justice. The Court

10   further finds that the interests of the public and the Defendants in a speedy trial in this case are

11   outweighed by the ends of justice, within the meaning of 18 U.S.C. § 3161(h)(8)(A).

12           Accordingly, IT IS HEREBY ORDERED that the pre-trial motions cut-off date shall be extended

13   to January 31, 2006, with a new trial date of March 6, 2006. The time between the date of this Order

14   and the new trial date shall be excludable time under the Speedy Trial Act pursuant to 18 U.S.C. §§

15   3161(h)(8)(A) and 3161(h)(8)(B)(iv) as to all Defendants and, additionally, pursuant to id. § 3161(h)(7)

16   as to Defendant Purdom.

17

18           SO ORDERED this 16th day of December, 2005.



                                                             A
19

20
                                                             John C. Coughenour
21                                                           United States District Judge

22

23

24

25

26   ORDER – 2
